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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         NORTHERN DIVISION


 UNITED STATES OF AMERICA,
                                        Case No. 18-cr-20489 (TLL)(PTM)
             Plaintiff,                 Hon. Thomas L. Ludington
 vs.

 JAMES D. PIERON, JR.,

             Defendant.


       REPLY BRIEF IN SUPPORT OF MOTION FOR ACQUITTAL
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                                     Argument

      Pieron is entitled to a judgement of acquittal because the government did not

meet its burden to prove an affirmative act of evasion after January 9, 2012.

      The government charged Pieron with tax evasion on an evasion of payment

theory. (R. 1: Indictment, at PgID 1-2 (alleging Pieron “willfully attempted to

evade and defeat the payment of income taxes due and owing . . . for the calendar

years 2008 and 2009, by committing affirmative acts of evasion”).)

      To prevail, the government has the burden to prove (i) “income tax was due

from [the] defendant,” (ii) “the defendant committed an affirmative act constituting

an evasion or attempt to evade or defeat his tax obligation,” and (iii) “in evading or

attempting to evade or defeat his tax obligations, the defendant acted willfully.”

(R. 55: Trial Tr. vol. 6, at PgID 1020-21.) An affirmative act of evasion is conduct

“likely to have a misleading or concealing effect.” (R. 55: Trial Tr. vol. 6, at PgID

1021.) It is an act that hinders the government’s ability to collect on a tax due and

owing. See United States v. Mal, 842 F.2d 682, 687 (9th Cir. 1991) (tax evasion

requires “conduct designed to place assets beyond the government’s reach after a

tax liability has been assessed”).

      Because Pieron asserted a statute of limitations defense, the government also

has the burden to prove Pieron committed an affirmative act of evasion on or after

January 9, 2012. Musacchio v. United States, 136 S. Ct. 709, 718; 193 L. Ed. 2d


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639 (2016). The government’s failure to meet this burden is grounds for granting

Pieron’s motion for acquittal. United States v. Davis, 533 F.2d 921, 926-29 (5th

Cir. 1976) (holding the trial court erred in denying acquittal where government did

not meet is burden to prove overt acts within statute of limitations).

A.    No evidence presented at trial established Pieron committed an
      affirmative act of evasion after January 9, 2012.
      The government’s proofs at trial do not permit a reasonable inference that

Pieron committed an affirmative act of evasion after January 9, 2012.

      For the reasons stated in Pieron’s initial brief (R. 66, Motion for Acquittal,

PgID 1270-1277), no rational juror could draw a reasonable inference that Pieron

committed an affirmative act of evasion based on the three post-January 9, 2012

events contained in the bill of particulars: (i) the January 16, 2012 installment

agreement request, (ii) the August 6, 2012 filing of FBARs for 2005 to 2010, and

(iii) the March 27, 2014 offer and compromise. The government’s arguments to

the contrary do not address the lack of evidence establishing the alleged intentional

misrepresentations in these documents. And with respect to the 2009 FBAR, the

government cannot cite to the record to establish how the inaccurate information

concerning one of many historical corporate account balances could have likely

misled the government concerning Pieron’s personal assets.

      Nor does the post-January 9, 2012 evidence omitted from the bill of

particulars, yet offered by the government at trial, permit a reasonable inference

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that Pieron committed an affirmative act of evasion. The majority of it goes to

ability to pay, which is irrelevant. This evidence is listed below.

   1. Balance of the Komplique, Inc. savings account from December 31, 2011 to
      January 31, 2012. (R. 53: Trial Tr. vol. 4, at PgID 761-62; Gov. Ex. 169.)

   2. Balance of Komplique, Inc. checking account from March 30, 2013 to April
      30, 2013. (R. 53: Trial Tr. vol. 4, at PgID 762; Gov. Ex. 168.)

   3. December 31, 2011 to January 31, 2012: Evidence concerning the balance
      of Komplique’s business savings account. (R. 53: Trial Tr. vol. 4, at PgID
      762; Gov. Ex. 169.)

   4. March 30, 2013 to April 30, 2013: Evidence concerning Komplique’s
      checking account balance (beginning balance of $50,400 and ending balance
      of $25,340.94). (R. 53: Trial Tr. vol. 4, at PgID 762; Gov. Ex. 68.)

   5. April 21, 2012: Evidence concerning the purchase of a 2012 motorcycle for
      $18,901.64. (R. 53: Trial Tr. vol. 4, at PgID 742–43; Gov. Ex. 176.)

   6. April 15, 2013 check from Krescent Media to James Pieron in the amount of
      $50,000. (R. 53: Trial Tr. vol. 4, at PgID 761; Gov. Ex. 168.)

   7. October 17, 2013: Evidence concerning the trade-in of a 2009 Mercedes and
      purchase of 2013 Mercedes G63 by Krescent Media. (R. 52: Trial Tr. vol. 3,
      at PgID 595-97; Gov. Exs. 170-72.)

      With respect to items one through four above, the government presented

evidence of the balance of various corporate bank accounts. Based on this

evidence, a rational juror cannot make a reasonable inference that Pieron engaged

in conduct designed to mislead or conceal with intent to “place assets beyond the

government’s reach after a tax liability has been assessed.” Mal, 842 F.2d at 687.




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      With respect to item five, the April 21, 2012 purchase of a motorcycle by

James Pieron, no juror could reasonably conclude that this was an affirmative act

designed to mislead or conceal. To the contrary, it is an act that, by the very nature

of the transactional records and regulatory reporting concerning ownership, would

aid the government in identifying Pieron’s assets for collections purposes. There

was no testimony presented by the government—nor could there be—that buying a

motorcycle and titling it in one’s true name could frustrate collection efforts.

      Similarly, with respect to item six, the April 13, 2013 check from Krescent

Media to James Pieron, this act cannot be reasonably inferred to be one likely to

conceal or mislead. Indeed, this is evidence that corporate funds are being paid to

Pieron personally. The government offered no evidence at trial as to how this

conduct could conceal Pieron’s assets to frustrate government collection efforts.

      Finally, with respect to item seven, there was no evidence presented at trial

establishing that the Mercedes automobiles were Pieron’s personal assets. The

government may have established at trial that Pieron used the automobiles. But

there was no evidence that the use of the vehicles was for other than a legitimate

business purpose. Nor is there any evidence as to how trading-in one business

asset (e.g., a corporate automobile) for the purchase of another misled or concealed

Pieron’s personal assets from the government to frustrate collection efforts.




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      The Court must make reasonable inferences in favor of the government. But

the inferences must be reasonable. Here, the government failed to offer proof at

trial to enable a rational juror to reasonably infer that Pieron committed an

affirmative act of evasion after January 9, 2012. Accordingly, Pieron is entitled to

a judgment of acquittal.

B.    The Court is not required to consider evidence outside the bill of
      particulars.
      Pieron is aware of no authority suggesting this Court lacks the ability to

exclude evidence outside the bill of particulars in deciding this motion.1 The bill

of particulars alleges three affirmative acts of evasion after January 9, 2012. (R. 5,

Bill of Particulars, PgID 13-14.) All of these alleged affirmative acts involve

Pieron making misrepresentations to the government that undervalue or exclude

his assets. Hence, the government’s bill of particulars alleges three affirmative

acts that could have had a “misleading or concealing effect” on the government’s

ability to collect a tax due and owing. But, for the reasons stated in Pieron’s initial

brief, these proofs were insufficient to allow the jury to make a reasonable




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       The government’s citation of United States v. Garcia, 758 F.3d 714, 721
(6th Cir. 2014) is unavailing. (R. 113: Government’s Opposition Brief, at PgID
2005.) Garcia, unlike this case, did not involve a bill of particulars. Moreover,
Pieron is not asking the Court to “consider the potential magnitude of the evidence
not presented.” Id. Pieron is asking this Court to consider the government’s failure
to put on sufficient evidence within the statute of limitations.
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inference that there were intentional misrepresentations made to the government.

(R. 66, PgID 1270-1277.)

      With respect to post-January 9, 2012 conduct, the government entered

evidence outside the bill of particulars as noted above. This was not evidence of

additional misrepresentations, but evidence concerning an alleged ability and

failure to pay taxes. The government then used this evidence to argue improperly

for a conviction based on the failure to pay taxes. (R. 68: New Trial Motion, PgID

1431-33.) This is in stark contrast to the evidence alleged in the bill of particulars.

      The government’s evidence and arguments were a change of course that

would catch competent, well-prepared trial counsel by surprise. And it is evidence

and argument that effective trial counsel would have sought to exclude. The

government’s bill of particulars was not (and has not been) amended.

Accordingly, the government’s proofs are strictly limited to the alleged affirmative

acts of evasion contained in the bill. United States v. Haskins, 345 F.2d 111, 114

(6th Cir. 1965).

      The government argues, however, that had there been an objection, it would

have amended the bill of particulars. (R. 113, Government Response, PgID 2005

n. 3.) But amendments are not freely given; rather, they are allowed if they will

not prejudice the defendant. Haskins, 345 F.2d at 114.




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       Here, amendment would not satisfy “such conditions as justice requires,”

 Fed. R. Crim. P. 7(f), because the amendment would defeat the purpose of the bill

 of particulars. That purpose to “(1) to inform the defendant of the nature of the

 charge against him with sufficient precision to enable him to prepare for trial; [and]

 (2) to avoid or minimize the danger of surprise at the time of trial . . . .” United

 States v. Birmley, 529 F.2d 103, 108 (6th Cir. 1976)).

       The evidence presented by the government—outside the bill of particulars—

 was surprising and prejudiced Pieron’s substantial rights. See United States v.

 Green, 202 F.3d 869, 873 (6th Cir. 2000); United States v. Mahoney, 949 F.2d 899,

 903 (6th Cir. 1991) (suggesting prejudice results from permitting amendment of a

 bill of particulars where, as here, the government offers “constantly shifting . . .

 theories” of liability). Accordingly, no amendment should be permitted.

                                      Conclusion

       For the reasons stated, Pieron should be acquitted.

                                             Respectfully submitted,

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                           CERTIFICATE OF SERVICE


       I hereby certify that on July 24, 2019, I electronically filed the foregoing

 document with the Clerk of the Court using the ECF system, which will send

 notification of such filing to all counsel of record.



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